                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION

LYNDON F. FRINK, as Trustee for the United            )
States Living Trust #LFF39472                         )
                      Plaintiff,                      )
v.                                                    )       JUDGMENT
                                                      )       No. 7:18-CV-185-FL
DEUTSCHE NATIONAL BANK TRUST                          )
COMPANY, As Trustee for Morgan Stanley ABS            )
Capital I Inc. Trust 2007-NC1, Mortgage Pass-         )
Through Certificates, Series 2007-NC1                 )
                        Defendant.                    )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
February 4, 2019, and for the reasons set forth more specifically therein, this case is dismissed for
failure to respond to the clerk’s notice entered 1/14/19.

This Judgment Filed and Entered on February 4, 2019, and Copies To:
Lyndon F. Frink (via US mail) 5325 Willie Frink Road, NW, Ash, NC 28420

February 4, 2019                      PETER A. MOORE, JR. CLERK
                                        /s/ Sandra K. Collins
                                      (By) Sandra K. Collins, Deputy Clerk
